Weddle Law
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     May 7, 2019

     Via ECF

     Honorable Pamela K. Chen
     United States District Court
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201


     Re:     United States v. Hawit, 15 Cr. 252 - Request to Adjourn Sentencing


     Dear Judge Chen:

     I write respectfully to request that the sentencing in the above-referenced matter, which is
     currently scheduled for May 16, 2019 at 10:00 a.m., be adjourned to a date convenient to the
     Court in August 2019. I have consulted with AUSA Keith Edelman, and the Government
     consents to the requested adjournment. The Court has granted four prior requests for
     adjournments. Thank you for your consideration.

                                                                 Very truly yours,

                                                                 WEDDLE LAW PLLC



                                                                 Justin S. Weddle




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